Case 1:20-cr-00390-ENV Document 304 Filed 02/13/24 Page 1 of 5 PageID #: 7064



     quinn emanuel trial lawyers | boston
     111 Huntington Ave, Suite 520, Boston, Massachusetts 02199 | TEL (617) 712-7100 FAX (617) 712-7200




                                                                                                    WRITER’S DIRECT DIAL NO.
                                                                                                              (617) 712-7118

                                                                                                  WRITER’S EMAIL ADDRESS
                                                                                       michaelpackard@quinnemanuel.com

February 13, 2024

VIA ECF

Honorable Eric N. Vitaliano
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:       United States v. Javier Aguilar, No. 20 Cr. 390 (ENV) (E.D.N.Y.)

Dear Judge Vitaliano:

        We write respectfully on behalf of Defendant Javier Aguilar in response to the
government’s February 11, 2024 letter (ECF No. 301), which previewed exhibits it intends to
introduce through an attorney or a reader. As a threshold matter, Mr. Aguilar has no objection to
many of those exhibits, which are listed in Appendix 1 to this letter. But Mr. Aguilar does object
to several of the exhibits, for the reasons explained below.

I.     GOVERNMENT EXHIBIT 1186-A

        GX 1186-A is an email chain that spans December 24 to December 25, 2016. The general
subject is a potential LPG deal involving Vitol, Petroecuador, and OTI. The government claims
the entire chain is admissible on the following basis:

                 Fed. R. Ev. 801(d)(2)(A) (defendant’s statement); top part email chain
                 is “a statement offered to show its effect on the listener is not hearsay.”
                 United States v. Dupree, 706 F. 3d 131, 136 (2d Cir. 2013).

ECF No. 301, Att’m A at 3. Contrary to the government’s position, this exhibit is barred, in whole
or in part, by the rule against hearsay and Rule 403 of the Federal Rules of Evidence.

         First, this email chain contains 13 emails, and Mr. Aguilar wrote only one of them—the
eleventh in the chain. The others were sent by a variety of Vitol employees who have not testified
at this trial—including Russell Hardy, Rick Evans, Jeff Dellapina, Mike Loya, and Patrick Gorgue.
Thus, the vast majority of the emails in this exhibit cannot be admitted as Mr. Aguilar’s statements.

     quinn emanuel urquhart & sullivan, llp
     ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON |
     LONDON | LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY |
     SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | WILMINGTON | ZURICH
Case 1:20-cr-00390-ENV Document 304 Filed 02/13/24 Page 2 of 5 PageID #: 7065




        Second, even assuming that the 10 emails in the chain that precede Mr. Aguilar’s response
are admissible for their effect on Mr. Aguilar—given that they prompt his response (“Tks a lot to
everybody[.] I will make sure the deal works . . . . [I]f concluded . . . this deal will help us to do
more in the America’s pacific side, etc. . . . Will keep you posted”)—that reasoning does not apply
to the two emails that follow. Thus, those emails—at minimum—are inadmissible hearsay that
must be redacted.

         Third, Rule 403 bars admission of this entire chain—or at minimum, its top email—
because its relevance is de minimis and its potential unfair prejudice is substantial. The real reason
the government seeks to introduce this evidence has nothing to do with anything that Mr. Aguilar
said. Rather, the government’s focus is the top email, sent by Mike Loya to Patrick Gorgue, which
includes this line: “Outside of this, based on your market prices supplied by the matrix, and all
fees, it will have profits of $40M over 5 years or, more accurately, improvement in the current
Enterprise contract of that amount PLUS optionality to trade around.” The government no doubt
will use that out-of-court statement to argue that Mr. Aguilar expected an LPG deal with
Petroecuador might “have profits of over $40M over 5 years.” That is improper. Mr. Loya’s
prediction about the potential profitability of this deal sheds no light on Mr. Aguilar’s state of mind
about anything. That alone renders the email irrelevant and misleading to the jury. Moreover,
Mr. Loya’s prediction is predicated on complicated caveats that have not been—and cannot be—
explained to the jury. For instance, Mr. Loya’s prediction is based on “your market prices supplied
by the matrix.” But the email is completely opaque about what prices and what matrix he is
referring to, whether those prices and matrix are reliable, whether they are static or dynamic, and
a host of other information about a complex commodities deal. Further, Mr. Loya’s email contains
additional caveats couched in inexplicable insider jargon—“‘market transfer’ fees for FOB and
freight components,” “‘subsidy’ of the financial terms [that] will be applied to the deal,” and
“ring-fenced between 0 and $10M,” to name a few. The entire chain is inherently confusing absent
a witness with personal knowledge to walk through and explain it. But the government has no
witness to do that work—it intends to introduce this exhibit through an attorney or a reader, not a
percipient witness from Vitol who is able to provide that context.

       Accordingly, GX 1186-A should be barred under either Rule 801, because it is
inadmissible hearsay, or under Rule 403, because of its marginal relevance and potential for
substantial prejudice, or under both. At minimum, the top two emails in this chain—those that
come after Mr. Aguilar’s lone email in the chain—should be redacted.

II.    GOVERNMENT EXHIBITS 1450 AND 1450-T

        GX 1450 and GX 1450-T is an email chain that spans June 11 to June 12, 2016.
The general subject is Vitol’s ethane deal with Pemex Etileno. The government claims the entire
chain is admissible on the following basis:

               Fed. R. Ev. 801(d)(2)(A) (defendant’s statement)

ECF No. 301, Att’m A at 5. Contrary to the government’s position, this exhibit is barred by
Rule 403.




                                                 -2-
Case 1:20-cr-00390-ENV Document 304 Filed 02/13/24 Page 3 of 5 PageID #: 7066




        This email chain begins with a message to Mr. Aguilar from Pemex Procurement
International (“PPI”) regarding Vitol beginning its long-term ethane contract with Pemex Etileno.
Mr. Aguilar then forwards that email internally to others Vitol to initiate administrative processes.
Finally, Mr. Aguilar forwards the exchange to Mike Loya, saying, “Taking advantage that you’re
in London . . . . I hope they talk about me at the board meeting and agree that they haven’t treated
me as they should . . . .”

       Consistent with the profit motive previewed in the government’s opening,* and bolstered
by the admission of Mr. Aguilar’s compensation records and testimony of Valentine Douglas, it
appears the government will argue that Mr. Aguilar’s statement to Mr. Loya—“I hope they talk
about me at the board meeting [etc.]”—is evidence that Mr. Aguilar believed the ethane deal would
lead to greater compensation from Vitol. But that inference is highly speculative, incredibly
prejudicial, and should not be permitted to be made before the jury.

        First, Vitol’s board is responsible for much more than deciding compensation. Thus, it is
entirely speculative to contend that this statement referred to that particular duty. The government
easily could have called Mr. Loya to testify as to his understanding of what Mr. Aguilar meant in
that email, in which case the record would be different. But it did not. The government instead
seeks to rely on its own self-serving interpretation, which is unfounded and unfair.

         Second, and relatedly, the record does not contain any evidence that Mr. Aguilar or anyone
else anticipated that the long-term ethane contract would generate any profit for Vitol. That is
critical because, as Mr. Douglas acknowledged his testimony, Vitol’s board decides compensation
based largely on “performance,” including “how profitable the deals are that a trader enters into or
originates.” Trial Tr. 2081:22–24. And Mr. Douglas admitted that he did not have “any idea
whether Vitol’s ethane deals with [PPI] were profitable.” Id. at 2082:4–6.

       Mr. Aguilar has argued in prior briefing that the introduction of any evidence about his
compensation is improper under Rule 403. See ECF No. 186-1 § III; ECF No. 203 § III. But even
though the Court rejected that categorical argument, that does not mean that it should reject
Mr. Aguilar’s argument about GX 1450 and GX 1450-T. These particular exhibits are
inadmissible because their only potential relevance requires multiple speculative inferences, which
makes the balancing under Rule 403 tip strongly in favor of exclusion.

III.   GOVERNMENT EXHIBITS RELATED TO THE ALLEGED DIVERSION SCHEME

        GX 1403, GX 1403-A, GX 1403-B, GX 1409, GX 1409-A, and GX 1409-B all relate to
the so-called “diversion” scheme. Accordingly, Mr. Aguilar renews his standing objection to the
admission of these exhibits under Rule 403 and also renews his argument that he did not open the
door to the admission of such evidence. See, e.g., Trial Tr. 2642:8–22; ECF Nos. 132, 269.




*
    The government’s opening included: “What was in it for him? As you’ll see, when the
defendant’s company made money, he made money, often more than a million dollars a year in
salary and bonus. And that’s not all. His interests as a shareholder in the company was many,
many times that amount.” Trial Tr. 44:17–21.


                                                 -3-
Case 1:20-cr-00390-ENV Document 304 Filed 02/13/24 Page 4 of 5 PageID #: 7067




                                        *      *       *
       We appreciate the Court’s consideration of this letter and our arguments.

Respectfully submitted,

 /s/ Michael T. Packard
Michael T. Packard
Counsel for Defendant Javier Aguilar

cc: Counsel of Record (via ECF)

Enclosure: Appendix 1




                                              -4-
Case 1:20-cr-00390-ENV Document 304 Filed 02/13/24 Page 5 of 5 PageID #: 7068




                                 APPENDIX 1

                Exhibits Referenced in ECF No. 301, Attachment A,
                      to Which the Defense Does Not Object

GX No.            Government’s Description
1003, 1003-T      2/13/2014 email from J. Aguilar to L. Bacigalupo

1009, 1009-T      3/26/2014 email from X. Rodriguez to J. Aguilar

1014-A            6/4/2015 email from J. Aguilar to Vitol travel department.

1072-A            8/18/2016 email from J. Aguilar to X. Rodriguez

1073, 1073-T      8/23/2016 email from “skisensation” to J. Aguilar

1081-A            8/30/2016 email from J. Aguilar to himself.

1081-B            Attachment to 1801-A

1084, 1084-A      9/6/2016 email from X. Rodriguez to J. Aguilar

1084-A            Attachment to 1084-A

1208-A            1/26/2017 email from J. Aguilar to R. Hardy and others, including Vitol
                  executive committee

1427              5/18/2018 email from M. Ducrest to J. Aguilar and others

1445              6/6/2018 email from L. Hanst to E. Pere

1596              11/15/2019 email from “alopexmx” to J. Aguilar

1596-A            Attachment to 1596

1771-A            9/16/2016 email from J. Aguilar to C. Bake and M. Loya

1777              3/4/2019 email from J. Aguilar to J. Aguilar

1777-A            Attachment to 1777

1806              5/8/2018 email from M. Ducrest to J. Aguilar and others
